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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            BEAUMONT DIVISION

UNITED STATES OF AMERICA                   §
                                           §
                                           §
VS.                                        §    CASE NO. 1:15-CR-13(1)
                                           §
                                           §
JONATHAN DEMOND PATTON                     §


      FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
           BEFORE THE UNITED STATES MAGISTRATE JUDGE

      By order of the District Court, this matter was referred to the undersigned United

States Magistrate Judge for administration of a guilty plea and allocution under Rules 11

and 32 of the Federal Rules of Criminal Procedure. Magistrate judges have the statutory

authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002),

cert. denied, 123 S. Ct. 1642 (2003). On August 11, 2015, this cause came before the

undersigned United States Magistrate Judge for entry of a guilty plea by the defendant,

Jonathan Demond Patton, on Count Two of the charging Indictment filed in this cause.

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       Count Two of the Indictment charges that on or about June 23, 2013, in the

Eastern District of Texas, Jonathan Demond Patton and River Shynette Gobert,

defendants, with the intent to cause death and serious bodily harm, attempted to take a

motor vehicle, that is, a Chevrolet Suburban, that had been transported, shipped and

received in interstate and foreign commerce, from the person and presence of another,

that is Daryl Dewayne Fontenot, by force, violence, and intimidation that resulted in the

death of Daryl Dwayne Fontenot, in violation of 18 U.S.C. § 2119(3) and 2.

       Defendant, Jonathan Demond Patton, entered a plea of guilty to Count Two of the

Indictment into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal

Rule of Criminal Procedure 11 the Court finds:

       a.     That Defendant, after consultation with counsel of record, has knowingly,

freely and voluntarily consented to the administration of the guilty plea in this cause by a

United States Magistrate Judge in the Eastern District of Texas subject to a final approval

and imposition of sentence by the District Court.

       b.     That Defendant and the Government have entered into a plea agreement and

plea agreement addendum which were disclosed and addressed in open court, entered into

the record, and placed under seal.

       c.     That Defendant is fully competent and capable of entering an informed

plea, that Defendant is aware of the nature of the charges and the consequences of the

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plea, and that the plea of guilty is a knowing, voluntary and freely made plea. Upon

addressing the Defendant personally in open court, the Court determines that Defendant’s

plea is voluntary and did not result from force, threats or promises. See FED. R. CRIM. P.

11(b)(2).

      d.     That Defendant’s knowing, voluntary and freely made plea is supported by

an independent factual basis establishing each of the essential elements of the offense and

Defendant realizes that his conduct falls within the definition of the crime charged under

18 U.S.C. § 2119(3).

                             STATEMENT OF REASONS

      As factual support for Defendant’s guilty plea, the Government presented a factual

basis. See Factual Basis and Stipulation. In support, the Government and Defendant

stipulated that if this case were to proceed to trial the Government would prove beyond a

reasonable doubt, through the sworn testimony of witnesses, including expert witnesses,

and through admissible exhibits, each and every essential element of the crime charged in

Count Two of the Indictment. The parties also stipulated that the Government would

further prove that the defendant is one and the same person charged in Count Two of the

Indictment and that the events described in the Indictment occurred in the Eastern District

of Texas.

      On the record at the guilty plea hearing, the Government and Defendant further

stipulated that the Government would be able to prove that the motor vehicle described in

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Count Two of the Indictment had been transported or shipped via interstate commerce,

which is a necessary element of the charged offense.

       Defendant, Jonathan Demond Patton, agreed with and stipulated to the evidence

presented in the factual basis. Counsel for Defendant and the Government attested to

Defendant’s competency and capability to enter an informed plea of guilty.          The

Defendant agreed with the evidence presented by the Government and personally testified

that he was entering his guilty plea knowingly, freely and voluntarily.      The Court

incorporates the proffer of evidence described in detail in the factual basis and on the

record in support of the guilty plea.

                            RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States

Magistrate Judge that the District Court accept the Guilty Plea of Defendant which the

undersigned determines to be supported by an independent factual basis establishing each

of the essential elements of the offense charged in Count Two of the charging Indictment

on file in this criminal proceeding. The Court also recommends that the District Court

accept the plea agreement and the plea agreement addendum pursuant to the provisions of

Federal Rule of Criminal Procedure 11(c). Accordingly, it is further recommended that,

Defendant, Jonathan Demond Patton, be finally adjudged as guilty on the charged offense

under Title 18, United States Code, Section 2119(3).

       Defendant is ordered to report to the United States Probation Department for the

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preparation of a presentence report.    At the plea hearing, the Court admonished the

Defendant that the District Court may reject the plea and plea agreement addendum and

that the District Court can decline to sentence Defendant in accordance with the plea

agreement, the federal sentencing guidelines and/or the presentence report because the

sentencing guidelines are advisory in nature. The District Court may defer its decision to

accept or reject the plea agreement and addendum until there has been an opportunity to

consider the presentence report. See FED. R. CRIM. P. 11(c)(3). If the Court rejects the

plea agreement, the Court will advise Defendant in open court that it is not bound by the

plea agreement and addendum and Defendant may have the opportunity to withdraw the

guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM. P.

11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty

plea, the disposition of the case may be less favorable to Defendant than that contemplated

by the plea agreement or addendum. Defendant has the right to allocute before the District

Court before imposition of sentence.

                                       OBJECTIONS

      Objections must be: (1) specific, (2) in writing, and (3) served and filed within

fourteen (14) days after being served with a copy of this report.        See 28 U.S.C. §

636(b)(1).

      A party’s failure to object bars that party from: (1) entitlement to de novo review

by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen,

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857 F.2d 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain

error of unobjected-to factual findings and legal conclusions accepted by the district court,

see Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc).
  .
The constitutional safeguards afforded by Congress and the courts require that, when a

party takes advantage of his right to object to a magistrate’s findings or recommendation, a

district judge must exercise its nondelegable authority by considering the actual evidence

and not merely by reviewing and blindly adopting the magistrate’s report and

recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United

States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                   SIGNED this the 12nd day of August, 2015.




                                                    ____________________________________
                                                    KEITH F. GIBLIN
                                                    UNITED STATES MAGISTRATE JUDGE




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